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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division
                              Case No: ________________________

 ELLA GALBREATH,
        Plaintiff,
 v.
 BROWARD COUNTY, Florida,
 a Political Subdivision of the State,

        Defendant.
 _________________________________/


                       COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, ELLA GALBREATH, by and through her undersigned counsel, sues the

 Defendant, BROWARD COUNTY, FLORIDA, and alleges as follows:

                                  JURISDICTION AND VENUE

        1.       This is an action for damages and to remedy violations of the rights of MS.

 GALBREATH under the Age Discrimination in Employment Act of 1967, as amended, 29 USC

 § 621, et seq, ("ADEA"), Title VII of the Civil Rights Act of 1964, as amended (“Title VII”), and

 the Florida Civil Rights Act of 1992, as amended (“Chapter 760”) to redress injuries done to her

 by the Defendant, BROWARD COUNTY, FLORIDA (“Defendant”).

        2.      The unlawful acts which gave rise to this Complaint occurred within Broward

 County, Florida during the Plaintiff’s employment with Defendant, making venue proper in this

 District pursuant to 28 U.S.C. § 1391.




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                                               PARTIES

        3.      At all times material hereto, Plaintiff has been a citizen and resident of Broward

 County, Florida and is otherwise sui juris.

        4.      As a 47-year old black woman from the Philippines, Plaintiff is a member of a

 protected class under the Age Discrimination in Employment Act of 1967, as amended, 29 USC §

 621, et seq, ("ADEA"), Title VII of the Civil Rights Act of 1964, as amended (“Title VII”) and

 the Florida Civil Rights Act of 1992, as amended (“Chapter 760”) because the terms, conditions,

 and privileges of her employment were altered because of her race, national origin, and age.

        5.      Defendant is a government agency. At all times material hereto, Defendant was

 Plaintiff’s employer as defined by law.

        6.      Defendant has, at all times material hereto, employed 15 or more employees for

 each working day in each of twenty or more calendar weeks in the current or preceding year in

 accordance with Title VII and the FCRA (42 U.S.C. §2000e(b); Fla. Stat. § 760.02(7)).

        7.      Plaintiff has exhausted her administrative remedies by filing a timely charge of

 discrimination against the Defendant with the Equal Employment Opportunity Commission.

        8.      Plaintiff’s charge was filed within 300 days after the first instance of discrimination

 occurred.

        9.      Plaintiff was issued a Notice of Right to Sue on June 28, 2019. This suit is filed in

 accordance with that Notice and within the applicable ninety (90) day time limitation (a copy of

 the Notice is attached hereto as Exhibit “A”).

        10.     The Florida Commission on Human Relations did not issue a finding on Plaintiff’s

 charge within 180 days of the filing of said charges.




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                 GENERAL ALLEGATIONS COMMON TO ALL COUNTS

        11.     Defendant hired Plaintiff as a senior librarian on February 15, 2015 and she was

 promoted to Community Library Manager on September 25, 2016. To this day, the Plaintiff is still

 working for the Defendant.

        12.     As a Community Library Manager, Plaintiff’s primary duties and responsibilities

 include supervising five subordinate librarians and overseeing the circulation section. The Plaintiff

 is also responsible for the public services offered to the community, including programming,

 information services, budget, collection management, and outreach. The Plaintiff is also

 responsible for staff and the building, including budget, staff training and facility maintenance.

        13.     Plaintiff has significant experience as a library manager and is more than qualified

 to perform her job duties and responsibilities.

        14.     Plaintiff’s starting salary was $47,000.00 per year.

        15.     Throughout the Plaintiff’s employment with the Defendant, she repeatedly

 attempted to negotiate her salary and requested to be given the compensable factors form and was

 denied due to her race, national origin, and age.

        16.     When the Plaintiff was first hired, she requested more than the minimum salary.

 The Plaintiff had a conversation with Kim Butler in Human Resources and Laura Conners,

 Assistant Director. Ms. Conners said, “we don’t have the budget for that and we do not negotiate

 the minimum.”

        17.     In September 2015, the Plaintiff received a raise, bringing her salary to $51,336.00,

 due to the Job Analysis Questionnaire (JAQ) recommendation for her classification. In 2016, when

 the Plaintiff’s job performance was reviewed, she exceeded all expectations.




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        18.     In August 2016, the Plaintiff had a meeting with Lisa McClure, head of Community

 Engagement, Ellen Lindenfeld, Regional Library Manager, and Valerie Simpson, Regional

 Library Manager. The Plaintiff requested to negotiate her salary and was told to contact Human

 Resources and negotiate it with them.

        19.     The Plaintiff was promoted to Community Library Manager on September 25, 2016

 and received a raise to $62,500.00, which was the minimum for that position, despite her prior

 experience managing libraries.

        20.     In October 2016, all branch managers, including Plaintiff, received raises. This

 raise brought Plaintiff’s salary to $64,000.00.

        21.     The Plaintiff was not given a compensable factor form. This form is used to

 consider people for more than the minimum salary. Younger, white employees were given the

 compensable factor form.

        22.     In late March 2018, the Plaintiff called Kim in Human Resources to ask about being

 considered for compensable factors but she did not return the Plaintiff’s call.

        23.     In early April 2018, the Plaintiff followed up with an email to Kim to ask why she

 was not considered for the compensable factors. Kim called the Plaintiff and said, "You do not

 qualify for the 5-year time in service raise to $74,500.00 because you have not been here long

 enough and you have not been with the same union from your previous time with BCL.” The

 Plaintiff said, “well, what about compensable factors?” Kim said, “I have mentioned this to Bertha

 Henry, the county administrator. Once I get an answer, I will let you know.” The Plaintiff never

 heard anything back after this.

        24.     In the meantime, the Plaintiff’s subordinate received a promotion and a raise and

 was considered for compensable factors. Valerie is white and in her mid-30s. The Plaintiff has an



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 extra Master's degree in Political Science, has managed libraries and personnel before, has grant

 writing and project management experience, and has an American Library Association (ALA)

 Leadership Institute Certificate, but was denied consideration for compensable factors.

        25.     The last time that Plaintiff received a raise was in September 2017, when she

 received an increase from $64,000.00 to $66,000.00. Despite requesting compensable factors as

 recently as April 2018, the Plaintiff has not been considered for more than the minimum salary

 and she has not received a compensable factor form.

        26.     In conclusion, from January 2015 through July 2018, there were a total of 9

 Community Library Manager positions open. Seven positions were filled by minorities at entry

 level with the minimum compensation. Two were filled by white women under 40 years old, both

 of whom were considered for compensable factors, resulting in an increase in their compensation

 beyond entry/minimum compensation. The seven minority managers make an average of

 $66,505.92 and the two white, younger managers make an average of $70,451.94.

        27.     Plaintiff has engaged the undersigned attorneys to prosecute her claims and is

 entitled to recover his attorney’s fees from Defendant pursuant to statute.

      COUNT I: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                      (Discrimination on the Basis of Race)

        28.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 27,

 inclusive, as though same were fully re-written here

        29.     Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, §§703(a),

 706(a), and 706(g) for damages caused by Defendant’s unlawful employment practices committed

 against Plaintiff because Plaintiff was denied compensation or consideration for compensable

 factors. Kim Butler, Laura Conners, , Lisa McClure, Ellen Lindenfeld, and Valerie Simpson, at all

 times relevant, were acting within the course and scope of their employment for Defendant.

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        30.     Because Plaintiff is black, she was discriminated against by representatives

 working for the Defendant, and the Defendant refused to take any action to prevent the

 discrimination.

        31.     Upon information and belief, non-black employees are paid more or receive

 consideration for compensable factors. Because Plaintiff is black, she was denied an equal

 opportunity for compensation or consideration for compensable factors.

        32.     Defendant engaged in unlawful employment practices in violation of Section

 703(a)(1) of Title VII, 42 USC §2000e2(a)(1) which resulted in Plaintiff, ELLA GALBREATH,

 not receiving equal compensation or consideration for compensable factors.

        33.     Plaintiff is entitled to such affirmative relief as may be appropriate, including but

 not limited to, lost wages, benefits, and compensation for emotional distress pursuant to the

 provisions of Title VII of the Civil Rights Act of 1964, §706(g).

        WHEREFORE, Plaintiff hereby requests that this Honorable Court grant Plaintiff

 judgment against Defendant to compensate her for past and future pecuniary losses, including back

 pay, front pay, liquidated damages, injury to her professional reputation, and emotional pain and

 suffering caused by Defendant’s discriminatory treatment in an amount to be determined at trial

 and in accordance with The Civil Rights Act of 1964, §706(g); attorney’s costs, fees, and such

 other relief as the Court deems just and appropriate.

        COUNT II: VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT OF 1992
                       (Discrimination on the Basis of Race)

        34.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 27,

 inclusive, as though same were fully re-written here.

        35.     The FCRA forbids discrimination on the basis of race, color, religion, sex,

 pregnancy, national origin, age, handicap, or marital status and thereby to protect their interest in

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 personal dignity, to make available to the state their full productive capacities, to secure the state

 against domestic strife and unrest, to preserve the public safety, health, and general welfare, and

 to promote the interests, rights, and privileges of individuals within the state.

         36.     Plaintiff is black and therefore a member of a protected class.

         37.     Because Plaintiff is black, she was discriminated against by representatives

 working for the Defendant, and the Defendant refused to take any action to prevent the

 discrimination.

         38.     Upon information and belief, non-black employees are paid more or receive

 consideration for compensable factors.

         39.     Because Plaintiff is black, she was denied an equal opportunity for compensation

 or consideration for compensable factors.

         40.     At all relevant and material times, Defendant failed to comply with the FCRA.

         41.       The discrimination of Plaintiff by Defendant was caused by Defendant being aware

 of Plaintiff’s race.

         42.     At all times relevant, including the time of the unlawful and discriminatory

 treatment, Defendant was aware that Plaintiff was black.

         43.     At the time of the unlawful discrimination, Plaintiff did perform and excel at the

 performance of the essential functions assigned to her by Defendant.

         44.     The failure of Defendant to adhere to the mandates of the FCRA was willful and its

 violations of the provisions of the FCRA were willful.

         45.     Defendant, through its practices and policies as an employer, willfully, and with

 malicious or reckless disregard of Plaintiff’s protected rights, discriminated against Plaintiff on




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 account of her race in violation of the FCRA with respect to its decision to treat Plaintiff differently

 from other employees.

        46.     Plaintiff being denied equal compensation or consideration for compensable factors

 was directly and proximately caused by Defendant’s unjustified discrimination against Plaintiff

 because she is black, in violation of the FCRA.

        47.     Any allegedly nondiscriminatory reason for the treatment of Plaintiff asserted by

 Defendant is a mere pretext for the actual reasons for the treatment; namely, Plaintiff’s race.

        48.     Defendant’s actions were malicious and were recklessly indifferent to Plaintiff’s

 rights protecting persons from discrimination due to her race. The discrimination on the basis of

 race constitutes unlawful discrimination.

        49.     As a direct and proximate result of Defendant’s intentional conduct, Plaintiff has

 suffered serious economic losses as well as mental pain and suffering.

        WHEREFORE, Plaintiff hereby requests this Court enter judgment against Defendant for

 all wages and benefits the Plaintiff would have received but for the discrimination, including actual

 damages suffered, compensatory damages under the FCRA for embarrassment, anxiety,

 humiliation, and emotional distress, liquidated damages, prejudgment interest on her damages

 award, attorney’s fees, costs, and such other and further relief as this Court deems just and

 appropriate.

     COUNT III: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                   (Discrimination on the Basis of National Origin)

        50.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 27,

 inclusive, as though same were fully re-written here.

        51.     Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, §§703(a),

 706(a), and 706(g) for damages caused by Defendant’s unlawful employment practices committed

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 against Plaintiff because Plaintiff was discriminated against on the basis of her national origin,

 Philippines.

        52.     Kim Butler, Laura Conners, Lisa McClure, Ellen Lindenfeld, and Valerie Simpson,

 at all times relevant, were acting within the course and scope of their employment for Defendant.

        53.     Because Plaintiff is Filipino, she was discriminated against by representatives

 working for the Defendant, and the Defendant refused to take any action to prevent the

 discrimination.

        54.     Upon information and belief, non-Filipino employees are provided with higher

 compensation or consideration for compensable factors.

        55.     Because Plaintiff is Filipino, she was denied an equal opportunity for compensation

 or consideration for compensable factors.

        56.     Defendant engaged in unlawful employment practices in violation of Section

 703(a)(1) of Title VII, 42 USC §2000e2(a)(1) which resulted in Plaintiff not receiving equal

 compensation or consideration for compensable factors.Plaintiff is entitled to such affirmative

 relief as may be appropriate, including but not limited to, lost wages, benefits, and compensation

 for emotional distress pursuant to the provisions of Title VII of the Civil Rights Act of 1964,

 §706(g).

        WHEREFORE, Plaintiff hereby requests that this Honorable Court grant Plaintiff

 judgment against Defendant to compensate her for past and future pecuniary losses, including back

 pay, front pay, liquidated damages, injury to her professional reputation, and emotional pain and

 suffering caused by Defendant’s discriminatory treatment in an amount to be determined at trial

 and in accordance with The Civil Rights Act of 1964, §706(g); attorney’s costs, fees, and such

 other relief as the Court deems just and appropriate.



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        COUNT IV: VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT OF 1992
                    (Discrimination on the Basis of National Origin)

         57.     Plaintiff incorporates herein the allegations contained in paragraphs 1 through 27,

  inclusive, as though same were fully re-written here.

         58.     The FCRA forbids discrimination on the basis of race, color, religion, sex,

  pregnancy, national origin, age, handicap, or marital status and thereby to protect their interest in

  personal dignity, to make available to the state their full productive capacities, to secure the state

  against domestic strife and unrest, to preserve the public safety, health, and general welfare, and

  to promote the interests, rights, and privileges of individuals within the state.

         59.     Plaintiff was born in the Philippines, and therefore a member of a protected class.

         60.     Because Plaintiff is Filipino, she was discriminated against by representatives

  working for the Defendant, and the Defendant refused to take any action to prevent the

  discrimination.

         61.     Upon information and belief, non-Filipino employees receive higher compensation

  or consideration for compensable factors. Because Plaintiff is Filipino, she was denied an equal

  compensation or consideration for compensable factors..

         62.     At all relevant and material times, Defendant failed to comply with the FCRA.

         63.     The discrimination of Plaintiff by Defendant was caused by Defendant being aware

  that Plaintiff was born in the Philippines.

         64.     At all times relevant, including the time of the unlawful and discriminatory

  treatment, Defendant was aware that Plaintiff was born in Philippines.

         65.     At the time of the unlawful discrimination, Plaintiff did perform and excel at the

  performance of the essential functions assigned to her by Defendant.




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            66.    The failure of Defendant to adhere to the mandates of the FCRA was willful and its

  violations of the provisions of the FCRA were willful.

            67.    Defendant, through its practices and policies as an employer, willfully, and with

  malicious or reckless disregard of Plaintiff’s protected rights, discriminated against Plaintiff on

  account of her national origin in violation of the FCRA with respect to its decision to treat Plaintiff

  differently from other employees.

            68.    Plaintiff being denied higher compensation or consideration for compensable

  factors was directly and proximately caused by Defendant’s unjustified discrimination against

  Plaintiff because she was born in Philippines, in violation of the FCRA.

            69.    Any allegedly nondiscriminatory reason for the treatment of Plaintiff asserted by

  Defendant is a mere pretext for the actual reasons for the treatment; namely, Plaintiff’s national

  origin.

            70.    Defendant’s actions were malicious and were recklessly indifferent to Plaintiff’s

  rights protecting persons from discrimination due to her national origin. The discrimination on

  the basis of national origin constitutes unlawful discrimination.

            71.    As a direct and proximate result of Defendant’s intentional conduct, Plaintiff has

  suffered serious economic losses as well as mental pain and suffering.

            WHEREFORE, Plaintiff hereby requests this Court enter judgment against Defendant for

  all wages and benefits the Plaintiff would have received but for the discrimination, including actual

  damages suffered, compensatory damages under the FCRA for embarrassment, anxiety,

  humiliation, and emotional distress, liquidated damages, prejudgment interest on her damages

  award, attorney’s fees, costs, and such other and further relief as this Court deems just and

  appropriate.



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                             COUNT V: VIOLATION OF THE ADEA
                               (Discrimination on the Basis of Age)

          72.     Plaintiff realleges and readopts the allegations contained in paragraphs 1 through

  27, inclusive, as though same were fully re-written here.

          73.     Plaintiff was forty-four (44) at the time of her hire by Defendant. Because Plaintiff

  is an older woman, she was discriminated against by representatives working for the Defendant,

  and the Defendant refused to take any action to prevent the discrimination.

          74.     Upon information and belief, younger employees are given higher compensation or

  consideration for compensable factors.

          75.     Because Plaintiff is an older woman, she was denied equal compensation or

  consideration for compensable factors.

          76.     Younger employees were given higher compensation or consideration for

  compensable factors.

          77.     Defendant did not have a legitimate, non-discriminatory, reason for not providing

  the Plaintiff equal compensation or consideration for compensable factors.

          78.     Defendant denied the Plaintiff equal compensation or consideration for

  compensable factors, which was willful and intentional, and constitutes a reckless disregard for

  Plaintiff’s rights.

          79.     Defendant had no good faith basis for not allowing the Plaintiff to negotiate her

  salary and be considered for compensable factors. Defendant based its actions on Plaintiff’s age,

  and Plaintiff is entitled to liquidated damages based on these actions.

          80.     Prior to denying the Plaintiff, Defendant did not consult with the EEOC,

  Department of Labor, or legal counsel to determine whether Plaintiff’s denial, based on her age,

  was in compliance with the ADEA.

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         WHEREFORE, Plaintiff prays that this Court will issue a declaratory judgment that the

  discrimination against Plaintiff by Defendant was a violation of Plaintiff’s rights under the ADEA;

  require that Defendant make Plaintiff whole for her losses suffered as a result of the discrimination

  through reinstatement, or, if that is not practical, through an award of front pay; grant Plaintiff a

  judgment against Defendant for all lost wages and compensatory damages, including liquidated

  damages; award Plaintiff her reasonable attorney’s fees and litigation expenses against Defendant

  pursuant to the ADEA and provide any additional relief that this Court deems just.

                            COUNT VI – VIOLATION OF THE FCRA
                              (Discrimination on the Basis of Age)

         81.     Plaintiff realleges and adopts the allegations contained in paragraphs 1 through 27,

  inclusive, as though same were fully re-written here.

         82.     The acts of Defendant, by and through its agents and employees, violated Plaintiff’s

  rights against age discrimination under the Florida Civil Rights Act, Chapter 760, FLA. STAT.

         83.     The discrimination to which Plaintiff was subjected was based on her age.

         84.     Plaintiff was denied a raise and/or consideration of compensable factors only

  because of her age, and would not have been denied, but for her age.

         85.     The conduct of Defendant and its agents and employees proximately, directly, and

  foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future pecuniary

  losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss of

  enjoyment of life, and other non-pecuniary losses.

         86.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

  pursuant to 760.11(5), Florida Statutes.

         87.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

  Defendant which have caused, and continue to cause, irreparable harm.

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          WHEREFORE, Plaintiff prays that this Court will issue a declaratory judgment that the

  discrimination against Plaintiff by Defendant was a violation of Plaintiff’s rights under the FCRA;

  requiring that Defendant make Plaintiff whole for her losses suffered as result of the discrimination

  through reinstatement, or, if that is not practical, through an award of front pay; grant Plaintiff a

  judgment against Defendant for damages; award Plaintiff her reasonable attorney’s fees and

  litigation expenses against Defendant pursuant to 760.11(5), Florida Statutes; and provide any

  additional relief that this Court deems just.

                                    DEMAND FOR JURY TRIAL

  Plaintiff demands a trial by jury on all issues so triable.

                                                  Respectfully submitted this 26th day of September,
                                                  2019.

                                                  By: /s/ Michelle Cohen Levy
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                                                  Counsel for Plaintiff




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